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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


  NETSOCKET, INC.,

                          Plaintiff,
                                               Case No. 2:22-cv-00172-JRG
                    v.

  CISCO SYSTEMS, INC.,                         JURY TRIAL DEMANDED

                          Defendant.


   PLAINTIFF NETSOCKET, INC.’S OPPOSED MOTION TO COMPEL DISCOVERY
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 I.       INTRODUCTION

          Cisco has stonewalled Netsocket’s discovery efforts to uncover the full extent of Cisco’s

 infringement. Netsocket requests the Court to compel Cisco to: (1) identify and produce portions

 of the source code related to Quality of Service (QoS) functionality/technologies used in Cisco

 SD-WAN, Viptela SD-WAN, Cisco Meraki, StarOS, Cisco ACI/APIC, and Cisco DNA (“Cisco

 Source Code”); and (2) identify which Cisco products or systems use this code per Interrogatory

 No. 6.

          This case is about Quality of Service or “QoS” functionality/technologies – the subject of

 the claimed inventions of the patents-in-suit. See, e.g., Dkt. 1-1 at p. 13, col. 10, ll. 18-19 (“A

 method for providing end-to-end Quality of Service (QoS) within a mobile telecommunication

 system.”).1 QoS is a set of technologies in a computer network used to guarantee its ability to

 dependably run high-priority applications and traffic (e.g., online gaming, streaming media, video

 conferencing, video on demand, and Voice over IP) in networks that have limited capacity for

 data.2 QoS can be used to assign the order in which packets are handled and the amount of

 bandwidth afforded to an application or traffic flow.

          At the heart of the case is Cisco source code. Because this code is not publicly available,

 Netsocket’s complaint focused on QoS functionality – wherever that may be. Netsocket then sets

 forth examples of how Cisco implements the claimed QoS functionality. Netsocket’s contentions

 further expand on these examples. But Netsocket does not, and cannot, know all of Cisco’s

 sourcecode internally used to implement the infringing QoS functionality or even what specific



 1
   See also Ex. V at 9:15-17 (“means for sending IP packets requiring a predetermined QoS to the
 destination terminal”); Dkt. 1-2 at p. 8, col. 6, ll. 5-8 (“This invention makes it possible to deploy
 bandwidth guaranteed end-to-end VLL services across the two of the most commonly used QoS
 models.”);Ex. W at 11:14-17 (“[E]nd-to-end QoS is provided . . . .”).
 2
   See Ex. A; see also generally Ex. B.


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 hardware uses that code. That is the purpose of discovery.

        So Netsocket served discovery requesting (1) Cisco to identify Cisco code that implements

 QoS functionalities and the products using this code, and (2) produce code and documents. Cisco

 refused to do so. Instead, Cisco gave Netsocket an impossible task – demanding that Netsocket

 identify the Cisco source code/products that implement QoS functionalities. But Cisco is the only

 one who knows the answer to this. With the parties in a discovery loop, Netsocket identified the

 code that it believed implemented infringing QoS functionalities, including Cisco Source Code.

        Cisco, however, refused to produce the Cisco Source Code and continues to resist all efforts

 to identify relevant QoS code and the products using that code. Without discovery, there is no way

 for Netsocket to identify all of Cisco’s infringement. Thus, Netsocket requests the Court’s

 assistance to obtain Cisco Source Code and identify all Cisco products that use that code.

 II.    BACKGROUND

        On May 24, 2022, Netsocket filed a complaint for patent infringement of U.S. Patent Nos.

 7,616,601 and 7,190,698. Dkt. 1. On August 19, 2022, Netsocket filed a First Amended Complaint.

 Dkt. 16. On September 8, 2022, Netsocket served preliminary infringement contentions for the

 ’601 and ’698 patents. Ex. C.

        On October 14, 2022, the Court entered a Discovery Order that required Cisco (without

 request from Netsocket) to produce source code and documents relevant to the case. Dkt. 33.

        On January 11, 2023, Netsocket filed a Second Amended Complaint in which it alleged

 infringement of five additional patents. Dkt. 43. Specifically, Netsocket identified Cisco’s QoS

 functionality as the infringing functionality that is “within” or “as part of” certain exemplary




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 source code/products. Dkt. 43 at ¶¶ 33, 99, 65, 66, 82, 83 117, 118. 3

        Netsocket also served supplemental preliminary contentions detailing, for the five new

 patents, how Cisco’s QoS functionality infringes based on examples in the complaint. Exs. D–H.

        Notably, by the time Netsocket served its supplemental contentions, Cisco had still not

 produced any code or internal Cisco documents as required under the Discovery Order. 4 On April

 12, 2023, after Cisco failed to provide any discovery in the case, Netsocket sent Cisco a letter

 requesting documents and source code related to products identified in the contentions as well as

 “related to Quality of Service (QoS) and/or reserving resources within a network.” Ex. I at 3, 8,

 13. Cisco refused to do so. Instead, Cisco continuously requested that Netsocket, without any

 discovery from Cisco, identify all Cisco products that infringe. But only Cisco knows which source

 code implements QoS functionality and which products use that code.

        On June 16, 2023, Netsocket served Interrogatory No. 6. Netsocket specifically requested

 that Cisco identify all of its code that implements QoS functionalities (including network resource

 management, reserving network resources/resource reservation, and/or admission control) and the

 Cisco products/systems using this code. Ex. J at 8. On July 17, 2023, Cisco served its objections

 and responses to Interrogatory No. 6. But Cisco only agreed to provide responsive documents with

 regard to the specific examples of products/systems set forth in the infringement contention—

 nothing more. Ex. K at 6, 22-23.

        Netsocket immediately informed Cisco that its response was deficient and requested a

 meet-and-confer. Ex. L. Then, on July 24, 2023, in advance of the meet-and-confer, to avoid a




 3
   Netsocket also identified Cisco Unified Communication in conjunction with Cisco 2900 and
 3900 series routers. See id. at ¶¶ 131, 132. Netsocket specifically discussed QoS functionality, e.g.,
 bandwidth manager, resource reservation, admission control. Id. at pp. 61, 63, 64, 65, 66.
 4
   Unless otherwise noted herein, all emphasis is added.


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 further dispute and delay, NetSocket’s counsel sent an email to Cisco attempting to identify

 specific code that Netsocket believed implements Cisco’s QoS functionality, including the Cisco

 Source Code. See generally Ex. M.

        On August 10 and 11, 2023, as ordered by the Court, the parties met and conferred

 regarding the production of Cisco source code. At that time, Cisco agreed to produce certain source

 code but would not commit as to whether it would produce the Cisco Source Code.

        On September 7, 2023, after Cisco’s continued failure to commit to producing the Cisco

 Source Code, Netsocket’s counsel sent an email seeking Cisco’s final position on the Cisco Source

 Code. Ex. N. On September 15, 2023, Cisco’s counsel responded with a letter stating that Cisco

 would not produce the Cisco Source Code. Ex. O. Cisco’s position was that none of the Cisco

 Source Code could be considered as “Accused Products” in this case due to an alleged lack of

 infringement contentions specifically discussing this code. Id. at 1. But Cisco is wrong.

 III.   ARGUMENT

        A.      Cisco’s own discovery delay should not limit Netsocket’s case.

        Cisco improperly seeks to use its own discovery delay tactics to limit discovery. Cisco

 should not be permitted to do so. Notably, despite the Discovery Order being entered over a year

 ago, Cisco first made certain source code available in October 2023 and has only produced an

 anemic 4,346 documents (nearly all public documents) (including prior art).

        This case is about QoS functionality/technologies, which is implemented in Cisco’s

 proprietary source code. In January 2023, Netsocket filed an amended complaint and served

 supplemental preliminary contentions. Because the code is not publicly available, Netsocket’s

 complaint and contentions focused on Cisco’s QoS functionality and provided examples of

 infringing implementations of that functionality, including in Cisco IOS.




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        Notably, when Netsocket prepared its contentions, Cisco had not produced any internal

 documents or source code. Thus, Netsocket prepared its preliminary contentions without the

 benefit of any information from Cisco. As discussed below, Cisco now seeks to use this against

 Netsocket.

        Starting in early 2023, Cisco demanded that Netsocket identify all infringing products.

 Netsocket explained that, given the nature of infringement, it cannot do so until it has discovery

 related to Cisco QoS source code and the products that implement that code. Only Cisco has this

 information. Netsocket sent an interrogatory and a letter requesting that Cisco identify and produce

 source code and documents related to Cisco’s QoS functionality. See generally Ex. J; see also Ex.

 I. Cisco refused. With the parties in a perpetual loop, to avoid a dispute, in July 2023, Netsocket

 informed Cisco that it believed that Cisco SD-WAN, Viptela SD-WAN, Cisco Meraki, StarOS,

 Cisco ACI/APIC, and Cisco DNA implement infringing QoS functionality. See Ex. M.

        Cisco, however, balked at providing this code or identifying products that use this code.

 Months later, in September 2023, Cisco informed Netsocket that it would not produce any

 discovery related to QoS functionality other than the specific examples in Netsocket’s preliminary

 contentions—contentions that were limited in scope in the first place due to Cisco’s failure to

 provide mandatory discovery. Cisco should not be able to use its refusal to timely produce

 discovery, which affected Netsocket’s contentions, to now limit Netsocket’s case.

        B.      The Cisco Source Code is implicated.
        At bottom, Cisco’s position is that any Cisco code that is not specifically called out by

 name in the infringement contentions are not part of the case. But, in doing so, Cisco ignores the

 reality of cases involving infringement by proprietary, non-public source code.

        Here, Cisco has many types of source code and hundreds of products using that code. Only

 Cisco knows the exact operation of the code and the identity of the products using that code. It is


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 because of this that Netsocket accused a functionality—QoS functionality—wherever that

 functionality may exist in Cisco code/products. Netsocket then provided examples of how the

 infringing QoS functionalities are used in various Cisco products.

        Here, the complaint makes it clear that this case is about Cisco’s QoS functionality “within”

 or “as part of” certain source code/products.

        Cisco has and continues to infringe . . . at least by making, using, offering to sell,
        importing, and/or selling by end-to-end Quality of Service (QoS) within a mobile
        telecommunication system. For example, . . . Cisco manufactures, imports, sells
        and offers to sell a Multiprocessor WAN Application Module (MWAM) and
        Catalyst 6500 and 7600 Series routing platforms . . . .”
 Dkt. 43 at ¶¶33, 99.
        Cisco has and continues to infringe . . . at least by making, using, offering to sell,
        importing, and/or selling end-to-end Quality of Service (QoS) as part of its
        Internetwork Operating System (IOS) versions 12 and above. For example, . . .
        Cisco manufactures, imports, sells and offers to sell the Cisco Internetworking
        Operating System (IOS) . . . .”
 See id. at ¶¶ 65, 66; see also id. ¶¶82, 83 117, 118.
        The complaint accuses exemplary software (Cisco IOS) as well as “all like products” as

 infringing and refers to these as the “Accused Products.” Id. at ¶ 30. Further, the complaint

 continuously refers to the infringing systems as the “Cisco QoS system” See Dkt. 43 at ¶¶ 34-36,

 60, 84, 85, 94, 100-102, 119, 120, 126.

        Similarly, the infringement contentions focus on QoS functionality as the infringing

 instrumentality that is “within” or “configured on” various systems.

        The Cisco Quality of Service (QoS) System provides for controlling resources
        within a data network implemented by a first network level . . . and at least a second
        network level . . . , each network level providing connectivity over at least one
        network domain within a Multi-Protocol Label Switch (MPLS) Virtual Private
        Network (VPN) Inter-Autonomous System (AS) system.
 Ex. E at 1.
        The Cisco Quality of Service (QoS) provides for reserving resources within an IP
        network to obtain a predetermined QoS . . . within a Multi-Protocol Label Switch
        (MPLS) Virtual Private Network (VPN) Inter-Autonomous System (AS) system.


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 Ex. H at 22; see also Ex. D at 1 (“Cisco Multi-process WAN Application module . . . with Cisco

 Catalyst 6500 and 7600 . . . , provides for performing admission control . . . in networks via

 Quality of Service (QoS) configured on the MWAM”). Thus, Netsocket identified QoS

 functionalities as the infringing instrumentalities in accordance with Local Patent Rule 3-1. The

 purpose of discovery is to now uncover the specific source code/products implementing these QoS

 functionalities. Yet, Cisco resists any such discovery.

        Indeed, Cisco takes its intransigence to the extreme. For example, with regard to the ’284

 patent, Netsocket identified QoS used with GGSN (a cellular technology) as infringing. And Cisco

 agreed to produce GGSN source code. Ex. O at n.1. But Cisco refuses to produce StarOS source

 code even though Cisco’s own documents specifically state that “GGSN is a StarOS application

 that runs on Cisco ASR 5500 and virtualized platforms.” Ex. P at 4. This is inappropriate.

        At Cisco’s insistence, Netsocket attempted to identify implicated source code based on

 publicly available Cisco documents. Netsocket identified Cisco/Catalyst SD-WAN, Viptela SD-

 WAN, Cisco Meraki, StarOS, Cisco ACI/APIC, and Cisco DNA as implementing infringing QoS

 functionalities. See Ex. M; see also Ex. Q (identifying infringing products to include Cisco IOS,

 StarOS, Cisco Merakai, Cisco ACI/APIC, Cisco/Catalyst SD-WAN, and Cisco Viptela). 5 But even

 with this identification, Cisco continues to stonewall. Cisco should be compelled to identify and

 produce the Cisco Source Code, and identify which Cisco products or systems use this code.




 5
   See also Ex. R at 8 (“SD-WAN Edge Routers . . . are responsible for traffic forwarding and
 provide . . . Quality of Service (QoS) enforcement.”); Ex. S at 3(“Cisco ACI Quality of Service
 (QoS) feature allows you to classify the network traffic in your fabric and then to prioritize and
 police the traffic flow to help avoid congestion in your network.”; “You can create a custom QoS
 policy in Cisco APIC); Ex. T at pp. 15-16 (“Cisco Meraki MS switches support LLDP-MED and
 Cisco Discovery Protocol . . . . The switch must be configured to handle QoS for the incoming
 traffic . . . .”); Ex. A at 2 (“You can configure QoS in your network using application policies in
 Cisco DNA Center.”); Ex. U (Workflow to Configure QoS Using Cisco SD-WAN Manager).


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 Dated: November 14, 2023                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 14th day of November, 2023, a true and correct

copy of the foregoing document was forwarded by electronic mail via CM/ECF to all counsel of

record for Defendant Cisco Systems, Inc.

                                                            /s/ Ronald M. Daignault
                                                            Ronald M. Daignault


                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel has complied with the meet and confer

requirements in Local Rule CV-7(h) and that the motion is opposed. Counsel for Netsocket

conferred with counsel for Cisco via web conference on November 13, 2023. Ronald Daignault,

Jason Charkow, Oded Burger, and Zachary Ellis participated in the call on behalf of Netsocket.

Janice Ta, Sarah Piepmeier, Sarah Hunt, James Miller, and Travis Underwood participated in the

call on behalf of Cisco. No agreement could be reached because Cisco will not produce source

code for products it believes are not identified or somehow related to NetSocket’s infringement

contentions. Discussions have conclusively ended in an impasse, leaving an open issue for the

court to resolve.



                                                                    /s/ Ronald M. Daignault
                                                                    Ronald M. Daignault

                                                                    /s/ Zachary H. Ellis
                                                                    Zachary H. Ellis




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